              Case 2:13-cr-00103-KJM Document 140 Filed 06/04/14 Page 1 of 1

     Patrick K. Hanly (SBN 128521)
 1   980 9th Street, 16th Floor
     Sacramento, California 95814
 2   Telephone: (916) 773-2211
     Facsimile: (916) 449-9543
 3
     Attorney for Defendant
 4   ADIL QAYYUM
 5

 6

 7                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                  EASTERN DISTRICT OF CALIFORNIA
 9

10   UNITED STATES OF AMERICA,                          )    Case No: 13-cr-103 MCE
                                                        )
11                 Plaintiff,                           )    STIPULATION RE TRAVEL
                                                        )
12          vs.                                         )
                                                        )    Date: N/A
13   ADIL QAYYUM,                                       )    Time: N/A
                                                        )    Courtroom: Honorable
14                 Defendant.                           )    EDMUND F. BRENNAN
                                                        )    UNITED STATES MAGISTRATE JUDGE
15                                                      )
                                                        )
16                                                      )
17

18
            It is hereby stipulated by and between the parties and their respective counsel, Assistant U.S.
19
     Attorney Todd Pickles for the United States and Patrick K. Hanly for the defendant, that Defendant
20
     ADIL QAYYUM may travel to San Francisco, California from June 20, 2014 to June 25, 2014 and to
21
     Costa Rica from June 25, 2014 to June 29, 2014.
22
            Dated: June 3, 2014                                   /s/ Todd Pickles
23                                                                Assistant United States Attorney
24          Dated: June 3, 2014                                   /s/ Patrick K. Hanly
25                                                                Attorney for Defendant Adil Qayyum

26
            IT IS SO ORDERED.
27          Dated: June 4, 2014                             _______________________________
                                                            Honorable EDMUND F. BRENNAN
28                                                          United States Magistrate Judge


                                             STIPULATION RE TRAVEL
